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6
     Attorney for Defendant
7    ASHLEY S. THOMAS
8
                                IN THE UNITED STATES DISTRICT COURT
9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                  )   Case No. 1:14-cr-00228-LJO-SKO
                                                 )
12                     Plaintiff,                )   STIPULATION AND ORDER TO
                                                 )   CONTINUE SENTENCING HEARING &
13             vs.                               )   BRIEFING SCHEDULE
                                                 )
14    ASHLEY S. THOMAS,                          )   Date: August 29, 2016
                                                 )   Time: 8:30 a.m.
15                     Defendant.                )   Judge: Lawrence J. O’Neill
                                                 )
16                                               )
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             IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
18
     Attorney, through, Grant B. Rabenn, Assistant United States Attorney, attorneys for Plaintiff,
19
     and Heather Williams, Federal Defender, through Assistant Federal Defenders, Jerome Price and
20
     Janet Bateman, attorneys for Ashley Thomas that the sentencing hearing, currently scheduled for
21
     August 29, 2016, may be continued to October 3, 2016 at 8:30 a.m. The parties further
22
     stipulate that the briefing schedule be modified as follows:
23
24           Formal Objections to the final Presentence Report will be due September 19, 2016
             Replies to the Formal Objections will be due September 26, 2016.
25
             Sentencing Memoranda will be due September 26, 2016
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     Stipulation to Continue                          -1-                         U.S. v Thomas, 14-cr-228
     Case 1:14-cr-00228-LJO-SKO Document 343 Filed 08/11/16 Page 2 of 3



1    This continuance is made at the request of defense counsel to receive additional time to receive
2    and review mitigation evidence and trial transcripts in preparation for the sentencing

3    memorandum and the formal objections to the Presentence Investigation Report. Defense

4    counsel received the ordered transcripts on August 3, 2016. Counsel needs additonal time to

5    read and review the transcripts to ensure a complete record for filing objections to the report.

6    The proposed dates are agreeable to the government and probation. The government has no
     objection to the continuance.
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8
                                                   Respectfully submitted,
9    Dated: August 11, 2016                        HEATHER E. WILLIAMS
                                                   Federal Defender
10
                                                   /s/ Jerome Price
11                                                 JEROME PRICE
                                                   Assistant Federal Defender
12                                                 Attorneys for ASHLEY S. THOMAS
13   Dated: August 11, 2016
                                                   PHILLIP A. TALBERT
14                                                 Acting United States Attorney
15                                                 /s/ Grant B. Rabenn
                                                   GRANT B. RABENN
16                                                 Assistant U.S. Attorney
                                                   Attorneys for Plaintiff
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     Stipulation to Continue                         -2-                           U.S. v Thomas, 14-cr-228
     Case 1:14-cr-00228-LJO-SKO Document 343 Filed 08/11/16 Page 3 of 3



1                                                  ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order. The Court orders the August 29, 2016 sentencing hearing continued to October 3, 2016
5    at 8:30 a.m. It is further ordered that any formal objections are now due on September 19, 2016
6    and any replies are now due on September 26, 2016. Any sentencing memoranda are now due on
7    September 26, 2016.
8
9    IT IS SO ORDERED.
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         Dated:      August 11, 2016                         /s/ Lawrence J. O’Neill _____
11                                                  UNITED STATES CHIEF DISTRICT JUDGE
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     Stipulation to Continue                          -3-                           U.S. v Thomas, 14-cr-228
